Fidelity

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Information About Your Fidelity Statement

Lost or Stolen Cards For 24-Hour worldwide customer service, call 800-529-2164 for American Express or
800-323-5353 for Fidelity® Debit Card.
Additional Investments with Fidelity Make checks payable to Fidelity Investments. Include your account
number on the check. For retirement and health savings accounts (HSA), designate in the memo field whether
your contribution is for the current or prior year. Mail checks or other inquiries to: Fidelity Investments, P.O. Box
70001, Cincinnati, OH 45277-0003.
Income Summary Shows income by tax status for the statement and year-to-date periods. Except for interest
income earned on, or distributed by, tax-exempt securities, Fidelity reports dividends and capital gains held in
taxable accounts as taxable income. A portion of income reported as tax-exempt income may be subject to
alternative minimum taxes and/or state and locai taxes. In Traditional IRAs, Rollover IRAs, SEP-IRAs, SIMPLE
IRAs and Keaghs, earnings are reported as tax-deferred income. In Roth IRAs and HSAs, eamings are reported
as tax-exempt income as they may be federally tax-exempt if certain conditions are met.
Cost Basis, Gain/Loss, and Holding Period Information NFS is required to report certain cost basis and
holding period information to the IRS on Form 1099-B. Unless otherwise specified, NFS applies the average
cost method for apen-end mutual funds and the first-in, first-out (FIFO) method for all other securities. Cost
basis is adjusted for wash sales on securities with the same CUSIP held in the same account (unless your
account receives mark-to-market reporting). Your statement may net reflect all adjustments required for tax
purposes. Customers should consult their tax advisors for further information.
Cost Fidelity provides purchase cost information fer securities held in retirement and HSA accounts. Such
information may be adjusted for certain transactions and does not reflect dividends or capital gains
reinvestments. Fidelity reports transaction profit or loss information when securities are sold within a retirement
or HSA account. Transaction profit or loss is calculated by subtracting purchase cost from sales proceeds

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using the FIFO method if shares were purchased at different times or prices. Statement Mailing We deliver
statements at least four times during the calendar year for any account with a balance.

Statement Discrepancies Please review your statement and report any i ies or discrey i
Inquiries, concerns or questions regarding your brokerage account or the activity therein should be
directed to FBS by calling 800-544-6666, and NFS, who carries your brokerage accounts, by calling
866-408-1138. Any oral communications regarding inaccuracies or discrepancies should be reconfirmed in
writing to protect your rights, including those under the Securities investor Protection Act (SIPA).

Material Changes Please advise us of material changes in your investment objectives or financial situation
related to your brokerage accounts).

Mutual Funds and Performance Before investing, consider the funds’ investment objectives, risks,
charges and expenses. Contact Fidelity for a prospectus containing this information. Read it carefully.
Performance data shown represents past performance and is no guarantee of future results.
Investment return and principal value will fluctuate, so you may have a gain or loss when shares are
sold. Current performance may be higher or lower than that quoted. Visit Fidelity.com/performance for
most recent month-end performance.

Sales Loads & Fees Each fund reserves the right to terminate or modify its exchange privilege in the future. In
connection with (i) access to, purchase, sale, exchange or redemption of, and/or maintenance of positions in
mutual funds, ETFs and other investment products ("funds") or (ii) infrastructure needed to support such funds,
some funds, or their investment affiliates, pay FBS and/or NFS sales loads and 12b-1 fees described in the
prospectus as well as additional compensation for sharehalder services, start-up fees, platform support and
maintenance, and marketing, engagement and analytics programs. Additional information about the source(s)
and amount(s) of compensation as well as other remuneration received by FBS or NFS will be furnished to you
upon written request. At the time you purchase shares of funds those shares will be assigned either a load,
transaction fee (TF) or no transaction fee (NTF) status. When you subsequently sell those shares, any fees
applicable to your transaction will be assessed based on the status assigned to the shares at the time of
purchase.

Additional information About Your Brokerage Account, If Applicable

Free credit balances (FCB) are funds payable to you on demand. FCB are subject to open commitments such
as uncleared checks and exclude proceeds from saijes of certificated securities without delivery of the
certificate. if your FCB is swept to a core position, you can liquidate the core position and have the proceeds
sent to you or held in your account subject to the terms of your account agreement. Required rule 10b-10(a)
information not contained herein will be provided on written request. Fidelity may use this free credit balance in
connection with its business, subject to applicable law. Assets Separate from Your Brokerage Account Only
securities in the margin portion of your brokerage account contribute to margin and maintenance requirements.
Other Assets, which may be reported on your statement, including insurance products that are distributed by
FBS and Fidelity insurance Agency, Inc. and mutual fund only accounts held directly with the fund (Fidelity
Mutual Fund Accounts) are not carried by NFS, not covered by the Securities Investor Protection Corporation
(SIPC) and do not count toward your margin and maintenance requirements. Assets held in brokerage
accounts managed by Fidelity Personal and Workplace Advisors LLC (FPWA) are carried by NFS and covered
by SIPC but do not contribute to your margin and maintenance requirements. Short Account Balances
Securities sold short are held in a segregated short account. These securities are marked-to-market for margin
purposes, and any increase or decrease from the previous week's value is transferred weekly to your margin
account. Fidelity represents your short account balance as of the last weekly mark-to-market, not as of the
statement end date. Information About Your Option Transactions Each transaction confirmation previously
delivered to you contains full information about commissions and other charges, and such information is
available promptly upon request. Assignments of American and European-style options are allacated among
customer short positions pursuant to a random allocation procedure, a description is available upon request,
Short positions in American-style options are Hable for assignment anytime. The writer of a European-style
Option is subject to exercise assignment only during the exercise period. For more information, please call
Fidelity at 800-544-6666, Equity Dividend Reinvestment Shares credited to your account resulted from
transactions by FBS acting as agent for your account, or the Depository Trust Company (DTC). Price
information/Total Market Value The Total Market Value has been calculated out to 9 decimal places but the
individual unit price is displayed in 5 decimal places. The Total Market Value represents prices obtained from
various sources, may be impacted by the frequency with which such prices are reported and such prices are
nat guaranteed. Prices received from pricing vendors are generally based on current market quotes, but when
such quotes are not available the pricing vendors use a variety of techniques to estimate value. These
estimates, particularly for fixed income securities, may be based on certain minimum principal amounts (e.g. $7
million) and may not reflect all of the factors that affect the value of the security, including liquidity risk. In
certain situations, a price may be derived from a single market participant, also known as a “singie broker
quote", The prices provided are not firm bids or offers. Certain securities may reflect as N/A or unavailable
where the price for such security is generally not available from a pricing source. The Market Value of a
security, including those priced at par value, may differ from its purchase price and may not closely reflect the

value at which the security may be sold or purchased based on various market factors. The sale or redemption
of any fixed income security prior to maturity may result in a loss. Prices for Certificates of Deposits (CDs) on
your statement are generally estimates and are not based on actual market prices. The secondary market for
CDs is generally illiquid. You should always request a current valuation for your securities prior to making a
financial decision or placing an order.
Executing Orders on the Floor of the NYSE The Floor broker may permit the Designated Market Maker to
trade on parity with the order for some or all of the executions associated with filling that order, where such
permission would not be inconsistent with the broker's best execution obligations.
SIPC Securities in accounts carried by NFS, a Fidelity Investments company, are protected in accordance with
the SIPC up to $500,000 (including cash claims limited to $250,000). For details, including the SIPC brochure,
please see www.sipc.org or call 1-202-371-8300. NFS has arranged for additional! protection for cash and
covered securities to supplement its SIPC coverage. Neither coverage protects against a decline in the market
value of securities.
Fidelity Investments Fidelity Distributors Company LLC (FDC) is the distributor for Fidelity Funds with
marketing and shareholder services provided by FBS or NFS. Brokerage services are provided by FBS,
which clears ali transactions through its affiliate, NFS, NFS carries all brokerage accounts. FBS and
NFS are members of the NYSE and SIPC. Upon written request, Fidelity will mail an NFS financial statement,
which Sais available for inspection at its office. Fidelity Investments (with pyramid logo) is a trademark of
FMR LLC.
FPWA Services Fidelity Go®, Fidelity Managed FidFoliosSM and Fidelity® Strategic Disciplines are advisory
services offered by FPWA, a registered investment adviser. Fidelity® Strategic Disciplines includes the
Breckinridge intermediate Municipal Strategy, the Fidelity@ Equity-Income Strategy, the Fidelity® Tax-Managed
U.S. Equity Index Strategy, the Fidelity® U.S. Large Cap Equity Strategy, the Fidelity® Intemational Equity
Strategy, the Fidelity® Tax-Managed international Equity index Strategy, the Fidelity® Intermediate Municipal
Strategy and the Fidelity® Core Bond Strategy. Fidelity® Wealth Services are advisory services offered by
FPWA or Fidelity Personal Trust Company, FS8 (FPTC), a federal savings bank. Nondeposit investment
products and trust services offered by FPTC and its affiliates are not insured or guaranteed by the Federal
Deposit Insurance Corporation or any other goverment agency, are not obligations of any bank, and are
subject to risk, including possible loss of principal. These advisory services are provided for a fee. FBS,
NFS, FDC, FPWA and FPTC are direct or indirect subsidiaries of FMR LLC.
Miscellaneous Mutual fund shares, other securities held in your account, and insurance products are neither
deposits nor obligations of, nor endorsed or guaranteed by, any bank or other depositing institution, nor are they
federally insured by the FDIC or any other agency. If you request a reprint of your statement, the disclosure
information may not be the same as the information originally provided. To confirm that an authorized, direct
deposit has been made to your Fidelity Account or Fidelity Mutual Fund Account, call Fidelity at
1-800-544-5555.

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customerservice@webull.us
June I, 2021 - June 30, 2021

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ACCOUNT NUMBER [57-43 RR WEA

= Your Registered Representative
WEBULL FINANCIAL LLC - HOUSE
(917) 725-2448

ACCOUNT CARRIED BY:

APEX CLEARING
CORPORATION

See Reverse Side for Important Tax Thi hall be Hf not objected to in

writing within sen Gays. Errors and omissions exrepted: Presse adatoas alt commun ieations te tnerarre ang norte indwiguats, MEMBER FINRA, NYSE and SIPC

Address changes or other material changes on your account should be directed to the office servicing your account. Kindly
mention your account number. This statement should be retalned for income tax purposes.

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IMPORTANT INFORMATION

You may have received a confirmation for a trade. which does not appear on this statement. Ifthe iz of the trace as she is later than the period ending date that appears at the top of this statement the wade will appear on your next regular monthly satement
if this is. a morn pocount and intain 9 special for you, this ia a combined statement of your general aocount and apecial tt rr foryou under T issued by the Board of Governors of the Fadera! Reserve System. The permanent record of the sracia.
tas requirod by Regulation T is for yexir your request,

The per annum rate of interest changed on the debit balanos in your account is shown on this statement. This rate may change from me to Ume In accordance with fluctuations In interest rates. interest I¢ computed from the 16!" day of the preceding month to the 15” day of the current month exceptin December and
January. in December. the chares include the last day of the year and, in January: the interest is calculated from the first doy of the month The interest Is based on the avemge dally net debit bafance in your account with us, ond for the actual number of days based on an interest year of 360 days. Wnen calsulaung
margin interest free credit balances in all sooounts will be offect against any debit in the margin account and the Interest will be charpod on the net debit batance.

‘We are required to report to the Intemal Revenue Service ali cach dividends and registered bond interest credited to your accounzon secunties held for you in our name. We also report coupon bond interest, All dividends and interest credits should be Included In your Income tax retum

Information relative te commission and any other charges Incurred in with fisted option ‘during the month has provioysly boon furnished to you fr of such Asummuary of thi ‘will bo made avaliable to you promotly upon request. Exorcise assignment
notions for eption positions purausni to a manuai procedure with randomly sciects form among all customer short option poaltions including those contracts which are subject to merce, All short American styic option positions are Habie for assignment at any ime
whereas European style cptions are assigned at expiration. A more detailed description of our random allocation procedure is available upon reques.

‘You are to prompty advise your brokemge fim or bank of any a ing your objectives or financial situation

Our financial statement Is avallable for your personal inspection at aur office, or a Copy of It will be mailed upon your witten request

SIPC Protection, As a member of the Securities Investor Protection Corparation (SIPC), funds are avallsble to aims up t ting of $5G $250,000 for cash claims For additional information regarding SIPC coverage. including a brochure, piease contact SIPC at (202)
374-8300 or vieit wyw.sincore Apex hes purchased an additional insurance pelicy through a group a of London Underwriters to supplement SIPC srotnction. hia additional insurance policy becomes avaliable to customers in the event that SIPC ilmits ere exhausted and provides protection for securities and cash up to
certalit limits, Similar to SIPC protection. this additional i does not aloss in of securites
Any tree credit balance represants funcs payable upon demand which, although property accounted for on our books of records. is not segregated, and may be usad in of this firm's the SEC Rule 15¢3-2.

NOTICE TO CUSTOMERS.

Apex is a member of the New York Stock Exchange and various other exchanges. Apex acts as cleaving agent for your aces.

As required under SEC rules, both the Firm's Onder Routing Report ag well as information regarding specific order routing information Is available free of charge upon request.

Your account, which was introduced to us by your broker cr bank, is established under your name on 2 “fully disclosed” basis at Apex, As a cearing agent may pr order execution on you broker's or bank's instructions.

You will remain a customer of your broker or bank. Apex will not be involved with or have ‘any responsibility for decisions regerding securities transactions in your sccount. Your broker or bank will for opening, Hl activi Jon with your account. The entry of orders, and
posit or urities de through your broker or bank.

In addition to the above mentionad services, Apex wil Bering, of funds and securities white in Aper’s with Tand Apen's intemal policies, prepanng.and mailing your account records (including

and periodic akitementa of your account).

interest charges to your socount will be based on the size and net debit balance during the interest period. These rates are subject to revision without novos in accordance with any changes in the broker call loan rate. a3 published in the Wall Street Journal. For more complete information regarding interest charged to
‘customers, consult the Truth in Lending Nolics which is made avaliable through your broker er bani,

Apex is.n member of the Financial industry Regilatary Authority, tne. ( PINRA*) and we are required fo inform you of the avaifabitity of the FINRA Investor Brochure. which containa ir FINRA You may contact FINRA at 800-289-9599 or ni their website at www finn org.

Apes caries your account and acts as your custodian for funds and securities deposited with us directly hy you, through your brokerage firm or bank or as.a result of transactions we process for your secount. Any suspected inaccuracy or discrepancy In your account statement must be promptly reported to both your
brokerage firm or bank (not to your individual broker or agent) and Apex. In order to protect your rights, Including your right to SIPC ccverage. please confirm any oral nm indude your number, General inquiries or concerns regarding your account should be directed to your:
brokerage firm or bank. Account positions and batance inquines or concams nhould be directed fo Apex by telephone at 214-765-1009

ACCOUNT SUMMARY:

Displays 3 applicable account type balance. money fund balances. priced portfollo value. and total account equity as of the opening and closing of the statement period. Paed Pertfolio Value and Total Portfolio Equity are rounded to the nearest collar. Total Priced Portfolio and Expense does nat include unpriced
INCOME AND EXPENSE SUMMARY.

Usts all income eamed during the ‘eurrent statement pericd. 03 well a3 year to date. Section includes taxable and non-tuzable dividends ond interest, capital gains and MLP (Master Limited Partnership) distributions. This section also disploys ard Margin Interest Expenses.

PORTFOLIO EQUITY ALLOCATION:

The Pie Chart is an estimate for illustrative purposes only.

PORTFOLIO SUMMARY:

Lists all securities held in your accounl.

MARKET VALUE:

This amount represents the value of the security position In your portiolio based on appraisals obtained from the various = quotation s Services. These appraisals are based on the closing prices. bond ylelds and/or the mean bid and ask on the last day of the statement period. Because of the nature of the data provided by
the quotation services. wo cannct guarantee the accuracy of such prices or the valuation dates f inactive traded secunties.

‘Some securities In your partfolio may be fisted as “Unpriced” on your stotement. We usc an automated prengserice from an outside wendor and certain prices may nel be available to them. You can obtain a current quotation, upon request, from your broker or bank,

Zond prices might differ from current market quotes, Similerly. bond rating: differ ratings. rating services are often unabic to supply us with up to the minute Information. Your broker or benk will be pleased to obtain a current quotation upon request.

ESTIMATED ANNUAL INCOME

The current annual dividend or bond interest mts for eoch security held. if avaiable from quotation services. Tha rate is multiplied by the number of shares or par value of bonds to determine estimated annual income.
OPEN ORD!

Displays ail B16 (Good-Till Cancelled) orders in your account. Aiso included In are GTX ord: Ti igihte for extended trading hours).

MONEY ACTIVITY:

Purchapes. rainvestments ond liquidations of money market funds, plus redemptions of money market fund checks.
DEFINITION OF ACCOUNT TYPES C=Caah, M»Margin. l=Incomc, L*Logul. S*Short, X*RVP/DVP. and O=Cthor

REALIZED GAIN/L AND PORTFOL

Displays mutual funds by average cost and cther securities by individual tax fot. Realized gains doses) are reflected on a trade date basis for period of the penod in which the shares were received, if later. Reatzed gains and losses may include tunssctons that sette dunng the
eyde These ‘appear in the Portfolio Holdings section. Estimated unrealized gains (lozecs) are displayed for moat securities currently held. "the pt basis used in determining gains flesses} does not reficct wash saica and may not reflect ait Rected

‘on thia statement ore treated a3 non-toxabie, unless or until other ‘has been tous. Cost basis of preferred accuritics with original | COD} IS. for OIC. For mast long pogitions transferred bebvecn bencficial owners, the tranaferoe’a ceat baata wit be

fetalned. For shares acquired from 3 decedent, you should conault your tax adviser to determine the approoriate valuations and holding serfod that appiles, ALTHOUGH THE. cost BASIS SHOWN MAY HAVE BEEN ADJUSTED. YOUR COGT BASIS MAY REQUIRE ADDITIONAL ADJUSTMENTS. NOTE: WE 00 NOT REPRESENT
THE CALCULATIONS OF REALIZED AND UNREALIZED GAINS (LOSSES) AS AN OFFICIAL TAX ACCOUNTING OF SUCH FIGURES. FOR TAX PURPOSES, YOU SHOULD RELY ON YOUR OWN RECORES AND THE CONSOLIDATED FORM 1099 SENT TO YOU.

Order Routing:

The SEC requi th that In equity and options to Of thelr routing practices, The reports must identity venues to which customer were routed for execution during the appiicabie quarter and
disclose the maternal aspects ot the broker-dealer’s rekrtionship with such verites, in addition, the Rute (SEC 606) requires. proker dealers to atone on customer roquest, the venues to which the indwidual customer's orders were routed for the six months prior to the request. and the execution ume for the orders.
‘that were executed. For further information, pleaze contact your broker or finanaal aduicor.

BLEASE RETAIN THIS STATEMENT AS iT WILL BE SMO PrUL IN PREPARING YOUR INCOME TAX RETURNS AND MAY BE NEEDED ALONG WITH SUBSEQUENT STATEMENTS TO VERIFY INTEREST CHARGES IN YOUR AGCOUNT. THIS STATEMENT SHALL BE DEEMED CONGLUSIVE UNLESS OBJECTED To IN WRITING WITHIN 0
DAYS OF THE STATEMENT CLOSING
MUTUAL RINDS AND OTHER SECURITIES ARE NON INSURED BY THE FDIC, ARE NOT DEPOSITS OR OBL “OR BY APEX, AND INVOLVE RISKS. INCLUDING THE POSSIBLE LOSS OF THE PRINCIPAL AMOUNT INVESTED.

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SYMBOL, ACCOUNT MARKET LAST PERIODS: EST. ANNUAL % OF TOTAL,
et DESCRIPTION CUSIP TYPE QUANTITY PRICE VALUE MARKET VALUE % CHANGE INCOME PORTFOLIO

EQUITIES / OPTIONS

META MATLS INC MMAT 0 83 7.49 62.67 N/A 13.330
COMMON STOCK

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accountnumecr RGMEis7-21. ee wea 44 Wall Street, New York, NY 10005
> customerservice@webull.us
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wel ACCOUNT

TRANSACTION BATE TYPE DESCRIPTION QUANTITY PRICE DEBIT CREDIT
< BUY / SELL TRANSACTIONS
> BOUGHT 06/24/22 c TORCHLIGHT ENERGY RESOURCES 67 $7.8295 $524.58

INC

2 CUSIP: 89102U103

BOUGHT 06/25/21. c TORCHLIGHT ENERGY RESOURCES
ING
CUSIP: 89202U103

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June I, 2021 - June 30, 2021

PAGE 4 OF 10
ACCOUNT NUMBER [ERIE 57-41 RR WEA

ACCOUNT ACTIVITY (CONTINUED)

ACCOUNT

TRANSACTION DATE TYPE DESCRIPTION,

QUANTITY PRICE

Webull Financial LLC

44 Wall Street, New York, NY 10005
customerservice@webull.us

DEBIT CREDIT

SECURITIES RECEIVED AND DELIVERED (continued)

06/25/21 0 TORCHLIGHT ENERGY RESOURCES
INC
TO TYPE 7 FROM TYPE 1
FFS(107306555)
CUSIP: 89102U103
META MATLS INC
COMMON STOCK
TO TYPE 4 FROM TYPE 7
FFS(107511599)
CUSIP: 59134N104
META MATLS INC
COMMON STOCK
TO TYPE 7 FROM TYPE 2
FFS(108170943)
CUSIP: 59134N104

JOURNAL

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JOURNAL

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JOURNAL 06/25/21
INC
FROM TYPE 1. TO TYPE 7
FFS(107306555)

CUSIP: 8B9102U103
META MATLS INC

COMMON STOCK

FROM TYPE 7 TO TYPE 1

FFS(107511599)

CUSIP: 59134N104.

JOURNAL 06/28/21 0

TORCHLIGHT ENERGY RESOURCES

67

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June 1, 2021 - June 30, 2021 Webull Financial LLC
PAGE 5 OF 10 44 Wall Street, New York, NY 10005

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ACCOUNT NUMBER I s7-22 RR WEA .
> customerservice@webull.us
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So
So
<<
ACCOUNT ACTIVITY (CONTINUED)
a ACCOUNT
TRANSACTION DATE TYPE DESCRIPTION QUANTITY PRICE DESIT CREDIT
<t SECURITIES RECEIVED AND DELIVERED (continued)
> JOURNAL 06/30/21 Cc META MATLS INC -83
COMMON STOCK
a FROM TYPE 1 TO TYPE 7
FFS(108170943)
_ CUSIP: 59134N104
> Total Securities Received And Delivered
- MISCELLANEOUS TRANSACTIONS
a REV SPLIT 06/25/21 c META MATLS INC 50
COM
z RESULT OF REVERSE SPLIT
CUSIP: 59134N104
- REV SPLIT 06/25/21 0 META MATLS INC 33
COM
RESULT OF REVERSE SPLIT
CUSIP: 59134N104
REV SPLIT 06/25/21 c TORCHLIGHT ENERGY RESOURCES -200
INC
REVERSE SPLIT @ 1:2
INTO 59134N104
CUSIP: 89102U103.
REV SPLIT 06/25/21 0 TORCHLIGHT ENERGY RESOURCES 67
INC
REVERSE SPLIT @ 1:2
INTO 59134N104

CUSIP: 89202U103

Total Miscellaneous Transactions

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June 1, 2021 - June 30, 2021 Webull Financial LLC

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dl IMPORTANT INFORMATION

< Staternent of Financial Condition
A copy of Apex Clearing Corporation's Audited Statement of Financial Condition as of December 31, 2020 is available on the website at www.apexclearing.com/disciosures/. A copy may also

> be obtained at no cost by calling Apex Clearing Corporation. As of December 31, 2020, Apex Clearing Corporation had a net capital of $221,754,625 and was $190,963,611 in excess of its
required net capital of $30,791,014. As of January 31, 2021, Apex Clearing Corporation had a net capital of $316,877,867 and was $269,611, 762 in excess of its required net capital of

a $47,266,105.

= Apex's Policy for Dividends and interest

> Apex’s policy is to pay all dividends and interest in US Dollars. Apex will allow the following countries to be paid in their foreign currency (Canadian Dollars, British Pounds, Euros, Argentine
Peso, Chinese Renminbi, Korean Won, Philippine Peso and Brazilian Real).
Participation in Fully Paid Lending Program

a Customers participating in the Fully-Paid Securities Lending Program should be aware that shares on loan are not covered by FDIC or SIPC. Cash securities collateralizing shares are held at JP
Morgan Chase & Co. and not subject to FDIC or SIPC protections. Please consult the Master Securities Lending Agreement for additional information.

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information Regarding Cost Basis for Foreign Account Statements

Foreign Currency: Cost basis is required to be reported in U.S. dollars for tax purposes. It is the responsibility of the account holder to convert sales proceeds paid in foreign currency to U.S.
dollars to avoid inaccurate cost basis calculations. When reporting the purchase or sale, you must determine the U.S. dollar amounts to be reported as of the settlement date, at the spot rate
or by following a reasonable spot rate convention. See Regulations section 1.6045-1(d)(8).

P. of Int to holders of M Securities - you may be subject to a substitute interest payment if the transfer of ownership of your municipal security has not been

ry
completed prior to the next interest payment. Please contact a tax professional for more specific details.
MMIPORTANT INFORMATION

To our valued customers:

FINRA Rule 2231 requires that we advise you to promptly report any inaccuracy or discrepancy in your account (within 10 days after available) to your brokerage firm and clearing firm (where
these are different firms) and to re-confirm any oral communications in writing.

https://www.finra.org/rules-guidance/notices/O6-72

"HVIPORTANT - Part of your distribution Includes a return of capital. Any distribution that represents a return of capital reduces the estimated per share value shown on your account
statement”

The preceding notice is required when reporting distributions on Direct Participation Programs and/or REITs and is subject to the DPP or REIT sponsor's final capita! return determination as
detailed in the IRS Form 1099 or K-1, as applicable.

Ajternative or Other investments, DPP, and Unlisted securities are not listed on a national securities exchange, are generally illiquid and that, even if a customer is able to sell the securities,
the price received may be less than the per share estimated value provided in the account The evaluation method used for any particular DPP or REIT will be provided to clients upon request.
Certain positions are not held on Apex’s books or custedied by Apex and are not Protected by SIPC.

Pursuant to SEC Rule 606, Apex Clearing Corporation is required to make publicly available a quarterly report with regard to its routing of non-directed orders. For the purpose of this Rule, we

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PAGE 7 OF 10

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> customerservice@webull.us
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ANNOUNCEMENTS (CONTINUED)

wd have entered into an agreement with QuantumS Market Surveillance (a Division of S3 Matching Technologies) to disclose all required information pertaining to this rule. This information can

be accessed on the intemet at http://public.s3.com/rule606/apex/, or a written copy will be furnished at no cost upon request via telephone to (214) 765-1009.
et SEC Rule 606 (b) requires a broker-dealer to disclose to its customers, upon request, "the identity of the venue to which the customer's orders were routed for execution in the six months prior

to the request, whether the orders were directed orders or non-directed orders, and the time of the transactions, if any, that resulted from such orders.”
3 in accordance with the Emergency Economic Stabilization Act of 2008 broker-dealers are required to track and report cost basis to the IRS in three phases over the next three years.

e Equity securities acquired on or after January 1, 2011

a ¢Mutual fund and dividend reinvestment plan (DRIP) shares acquired on or after January 1, 2012:

Debit securities, options, and all other financial instruments acquired on or after January 1, 2044. (The IRS has extended this date from the previously announced date of January 1, 2013.)
_ Beginning this upcoming tax reporting season the cost basis of any covered equity security transaction (purchased after 12/31/10) that is required to be reported on a 1099-8 will include its
associated cost basis. If you have any questions about this important change to the IRS mandated reporting requirements, please contact your broker-dealer or registered advisor.

>

_ IMPORTANT INFORMATION CONTINUED

2 Please take note of the following description of Apex Clearing Corporation’s excess SIPC coverage, which reflects certain changes made to the coverage effective August 8, 2013. The
Securities investor Protection Corporation ("SIPC") protects certain customer funds up to a ceiling of $500,000, including a maximum of $250,000 for cash claims. Please note SIPC dees

2 not cover commodity contracts and options on futures. For additional information regarding SIPC coverage, including a brochure, please contact SIPC at {202) 371-8300 or visit

WWW.SIDC.Org.

Apex has purchased an additional insurance policy to supplement SIPC protection. This additional insurance policy, widely known as "excess SIPC,” becomes available to customers in the
event that SIPC limits are exhausted. This additional insurance provides protection for securities and cash up to an aggregate limit of $150 million, subject to sub-limits for any one
customer of $37.5 million for securities and $900,000 for cash. Similar to SIPC protection, this additional insurance does not protect against a loss in the market value of securities. For
additional information, please contact your broker.

FDIC SWEEP PROGRAM

For customers with balances in a bank deposit account as part of the FDIC Sweep Program or shares of a money market mutual fund in which you have a beneficial interest, those balances
or shares may be liquidated on your order and the proceeds returned to your account or remitted to you in accordance with the applicable prospectus and/or Terms and Conditions of the
program.

For customers participating in the FDIC Sweep Program, the FDIC Sweep Program allows your cash balance to be eligible for insurance protection through the FDIC up to the maximum
applicable insurance limits. Customers may obtain information about FDIC, by contacting the FDIC at 1-877-275-3342, 1-800-925-4618 (TDD) or by visiting www-fdic.gov. Deposit Account
balances in the FDIC Sweep Program are not protected by SIPC or any other excess coverage by Apex Clearing Corporation. Deposit Account balances are protected as established by
current applicable laws regulated by the FDIC.

Customers may obtain information about SIPC, including the SIPC brochure, by contacting SIPC at 202-371-8300 or by visiting www.SIPC.org.

IVIPORTANT INFORMATION
APEX CLEARING CORPORATION DISCLOSURE STATEMENT

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June I, 202] - June 30, 2021 Webull Financial LLC

ACCOUNT NUMBER {57-21 RR WEA

meson’ 44 Wall Street, New York, NY 10005
customerservice@webull.us

ANNOUNCEMENTS (CONTINUED)

Apex Clearing Corporation ("Apex") recognizes the importance of providing information on an ongoing basis to the customers whose accounts are cleared through Apex. Your broker/dealer has
designated Apex as its clearing firm. In accordance with industry rules and regulations, Apex is required to disclose on an annual basis certain important regulatory notices and disclosures. To
comply with these requirements, Apex has published an Annual Disclosure Statement which is available on the Apex corporate web site, www.apexclearing.com. For customers who do not
have access to the internet please call Apex at 214-765-1009 and request a complete copy of the Annual Disclosure Statement be mailed to your address of record.

A brief summary of the content of the Annual Disclosure Statement is as follows:

Anti-Money Laundering - Federal law requires ail financial institutions to obtain, verify and record information that identifies each person who opens an account.

Privacy Policy - The privacy of customers is a responsibility which Apex respects and protects for former customers as well as current customers.

Margin Disclosure Statement: FINRA Ruie 2264 - The Information furnished provides basic facts about purchasing securities on margin and alerts customers of certain risks
involved in trading securities in a margin account.

Day-Trading Risk Disclosure Statement: FINRA Rule 2270 - Information to be considered before engaging in a day-trading strategy.

Business Continuity Plan: FINRA Rule 4370 - A further summary of Apex’s Disaster Recovery Plan to reasonable ensure business continuity.

SEC Rule 606 and 607 (Payment for Order Flow and Order Routing information) - (Rule 606} Requires Apex to make public a quarterly report with regard to routing of
non-directed orders and (Rule 607) Requires Apex to disclose its payment for order flow practices.

SEC Rule 10b-10 - Requires customers are provided with prior written notification of certain transactions that are not reported immediately through a trade confirmation.

SIPC Information: FINRA Rule 2266 - The Securities Investor Protection Corporation ("SIPC") requires that funds are available to meet customer claims up to a ceiling of

$500,000, including a maximum of $250,000 for cash claims. For more information about SIPC coverage or to receive a brochure, please visit the SIPC website at www.sipc.org

or, call (202) 371-8300.

Investor Education and Protection: FINRA Rule 2267 - Requires Apex to provide information about FINRA’s BrokerCheck program. The investor brochure may be obtained from
FINRA BrokerCHeck hotline number (800) 289-9999 or the FINRA web site address www-FINRA.org.

Joint NASD Industry Breakpoint Task Force - A further summary of a July 2003 report which recommends written disclosure regarding mutual fund breakpoints.

Carrying Agreements: FINRA Rule 4311 - The firm with which you have opened your securities account has retained Apex to provide certain record keeping, clearance, and
settlement functions. A further summary of details is disclosed.

Extended Hours Trading Risk Disclosure: FINRA Rule 2265 - Risks to consider include lower liquidity, higher volatility, changing prices, unlinked markets, news announcements,
wider spreads, and lack of calculation.

Liens and Levies - Apex will abide by the directions of federal, state, or other levying authorities.

Regulation E - Disclosure regarding certain electronic transfers is required under the provisions of this regulation as issued by the Board of Governors of the Federal Reserve

System.

Municipal Securities Rulemaking Board ("MSRB") Rule G-L0 requires an annual notification that 1) Apex Clearing Corporation is registered with the U.S. Securities and Exchange
Commission and the Municipal Securities Rulemaking Board, 2) the MSRB publishes an investor brochure that is published on their website that describes the protections that may be
provided by the MSRB and how te file a complaint with the regulatory authorities and 3) a copy of the MSRB investor Brochure as well as information regarding prospective, new and
existing MSRB rules may be found on the MSRS website by going to the following link: http://www.msrb.org/,

IMPORTANT INFORMATION - Privacy Policy

Apex Clearing Corporation ("Apex") carries your account as a clearing broker by arrangement with your broker-dealer or registered investment advisor as Apex’s introducing client. At Apex, we
understand that privacy is an important issue for customers of our introducing firms. It is our policy to respect the privacy of all accounts that we maintain as clearing broker and to protect the
security and confidentiality of non-public personal information relating to those accounts. Please note that this policy generally applies to former customers of Apex as well as current
customers.

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June 1, 2021 - June 30, 2021 Webull Financial LLC

masegor® 44 Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER [@9157-11 RR WEA

ANNOUNCEMENTS (CONTINUED)

Personal Information Collected

In order to service your account as a clearing broker, information is provided to Apex by your introducing firm who collects information from you in order to provide the financial services that
you have requested. The information collected by your introducing firm and provided to Apex or otherwise obtained by Apex may come from the following sources and is not limited to:

* Information included in your applications or forms, such as your name, address, telephone number, social security number, occupation, and income;

¢ Information relating to your transactions, including account balances, positions, and activity;

Information which may be received from consumer reporting agencies, such as credit bureau reports;

information relating to your creditworthiness;

» Information which may be received from other sources with your consent or with the consent of your introducing firm.

In addition to servicing your account, Apex may make use of your personal information for analysis purposes, for example, to draw conclusions, detect patterns or determine preferences.
Sharing of N P Infor

Apex does not disclose non-public personal information relating to current or former customers of introducing firms to any third parties, except as required or permitted by law, including but
not limited to any obligations of Apex under the USA PATRIOT Act, and in order to facilitate the clearing of customer transactions in the ordinary course of business.

Apex has multiple affiliates and relationships with third party companies. Examples of these companies include financial and non-financial companies that perform services such as data
processing and companies that perform securities executions on your behalf. We may share information among our affiliates and third parties, as permitted by law, in order to better service
your financial needs and to pursue legitimate business interests, including to carry out, monitor and analyze our business, systems and operations.

Security

Apex strives to ensure that our systems are secure and that they meet industry standards. We seek to protect non- public personal information that is provided to Apex by your Introducing firm
or otherwise obtained by Apex by implementing physical and electronic safeguards. Where we believe appropriate, we employ firewalls, encryption technology, user authentication systems
(.e. passwords and personal identification numbers) and access control mechanisms to control access to systems and data. Apex endeavors to ensure that third party service providers who
may have access to non-public personal information are following appropriate standards of security and confidentiality. Further, we instruct our employees to use strict standards of care in
handling the personal financial information of customers, As a general policy, our staff will not discuss or disclose information regarding an account except: 1) with authorized personnel of
your introducing firm, 2) as required by law or pursuant to regulatory request, or 3) as authorized by Apex to a third party or affiliate providing services to your account or pursuing Apex’s
legitimate business interests.

Access to Your Information
You may access your account information through a variety of media offered by your introducing firm and Apex (Le. statements or online services). Please contact your introducing firm if you
require any additional information.

IMPORTANT INFORMATION - Privacy Policy - CONTINUED
Apex may use "cookies" in order to provide better service, to facilitate its customers’ use of the website, to track usage of the website, and to address security hazards. A cookie is a small
piece of information that a website stores on a personal computer, and which it can Jater retrieve.

Changes to Apex’s Privacy Policy
Apex reserves the right to make changes to this policy.

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. June i, 2021 - June 30, 2021 Webull Financial LLC

rasemporse 44 Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER [ES 7-4 RR WEA

ANNOUNCEMENTS (CONTINUED)

wo How to Get in Touch with Apex about this Privacy Policy
For reference, this Privacy Policy is available on our website at www.apexclearing.com. For more information relating to Apex's Privacy Policy or to limit our sharing of your personal
information, please contact:

Attn: Compliance Department 350 N. St. Paul St, Suite 1300
Dallas, Texas 75201

cs@anexclearing.com

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> Apex Clearing Corporation
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APEX CLEARING CORPORATION
350 NORTH ST. PAUL SUITE 1300
DALLAS, TX 75201

August I, 2021 - August 31, 2021

ACCOUNT NUMBER [57-4 RR WEA

Your Registered Representative
WEBULL FINANCIAL LLC - HOUSE
(917) 725-2448

PAGE 2 OF 9

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Webull Financial LLC

44 Wall Street, New York, NY 10005
customerservice@webull.us

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IMPORTANT INFORMATION

You may have received a confirmation ‘or 9 trade. which does not appear on this statement Hf the. date of on ts later than the period ending date that appears at the top of this statement the tade will appear on your next regular monthly suatemant,

{thes ia 0 mar occount ond we maintain 0 special miscefisncous secount for you. this is 0 combined statement of your genem! account and special i for you under T issued by the Board of Governors of the Federal Reserve System. The permanent record of the speci}
account a9 required by Ts your ‘at your request

‘The per annum rate of interest charied on the debit baianos in your account Is shown on ‘This rate may Ig froen time to ume in with in Interest trom the 16 day of the preceding month to the 15" day of the current morn except in December and

January. In December, the charges include the last day of the year and, in january; the interest ia calculated trom the first day of the month The Interest is based on the average daily not debit balance in your account with us, and for the actual number of daya based on an interest year of 360 days. Wren calculating
mang interest, frec credit balances In all accounts will be offect against any debit in the marin account and the interest will be charged on the net debit balance.

‘We are required to raport to the Intemal Revenue Service all cach dividends and registerec bond interest credited to your account. on securities held ‘or you In our nome. We alse report coupon bend interest All dividends and interest credits should be Induced in your Income tax return.

information relative to commission and any other charges incurred in connection with fated option ‘during the month hi been furnished tw you in of ouch fons. A summary of this will be mad t@ you promatly upon request. Exercise assignment
notions for optk od arr positions pursuant to a manial procodure with randomly aciects form among all customer short option poaltions Induding th which bf . All short American styie option potions are table for assignment at any tme
whereas European style cptions. igned at expiration..A mor led ofour el pon request.

You are to promplly advise your brokemsfo firmer bank of ony material changes concerning your investment objectives or financial situation

Our financial statement Is available for your personal Inspection at aur office, ora copy of Itwill be mailed upon your written request,
SIPC Protection, Asa member of the Securities Investor Protection Corporation (SIPC), funds are avaliable to mect customer claims up to.9 ceiling of $500,000, including 2 maxmum of $250,000 for cash claims For additional information regarding SIPC coverage. Incuding a brochure, please contact SIPC at (202)
371-8300 or visit yww.sipe. ore Apex has purchased an additional Insurance policy through a group of London Underwriters 1a supplement SIPC protection, This additonal insurance policy becomes available to customers in the event that SIPC limits are exhausted and provides protection for securities and cash up to
certain iimits, Simitar to SIPC protection. this additional insurance does not protect against a loss in the market value of securities

Any free credit balance represents funds payable upon demand which, although properly accounted for on our books of records, 1s nol segregated, and may be used in the conduct of this firm's business a8 permicsitte under he SEC Rule 15c3-2.

NOTICE TO CUSTOMERS:
Apex in a member of the New York Stock Exchange and various olher exchanges. Apex acis as clearing agent for your traces.

As roquired under SEC rules, both the Firm's Order Routing Report as well as information regarding specific order routing information is available tree of charge upon request.

Your account, which was introduced to us by your broker cr bank, is established under your name on a “fully disclosed” basis at Apex, As a we provi ci id may provide order executicn on you broker's or bank's instructions.

You will remain a customer of your broker or bank. Apex will not t be Invelved with or rave ve any responsibility for decisions regarding secures transactions in your account. Your broker or bank wit! be for opening. activites with your account, The enty of orders, and
any igh your broker or banic.

In addition to the above Servioss:, Apex will sarvicen, fing of funds and in Aper’s i pp Tand Aper’s internal policies, preparing and mailing your account records (including transaction confirmations
and periodic statements of your account).

interest charges to your account will be based on the size and net the interest penod. ‘are subject to revision without notice in accordance with any changes in the broker call loan rate. as published in the Wall Steet Journal, For more complete information regarding inverest charged to
customers, consult the Truth in Lending Notice which i made available through your broker or bank.

Apex ia.a member of the Financial industry Regulatory Authority, inc. (“FINRA”) and we are required to inform you of the availability of the FINRA Investor Brochure. which containa i ‘on FINRA. You may cantact FINRA at 800-289-9599 or at their website at www finra org.

Apex carrles your account and acts as your custodian for funds and securities deposited with us directly by you, through your brokerage firm or bank or as.2 result of transactions we process far your account. Any suspected or In your stalement must be promptly reportad 1a both your
brokerage frm or bank (nat to yeurindividusi bre ar agent) and Apex, In order to protect your Fgh including your right to SIPC coverage. please confirm any oral communication in writing and Include your number. General inquiries or concerns regarding your account should be directed to your
beokerage firm or bank Account positic a) ‘Apex by telephona at 214-765-1009

ACCOUNT SUMMARY;

‘Displays applicable account type balance. money fund balances. priced partfollo value. and total account equity as of hf d closing of period. Priced Portfolio Value and Total Portfollo Equity are rounded dollar, Total Priced pen unpriced
secures.

iNGOME AND EXPENSE SUMMARY:

Usta all income comed during the current sintement period. as well a3 year to date. Section includes taxable and nor-tazable dividends and interest. capital gnina and MLP (Master Limited i ibutions. Thi ion also displ: d Margin Interest Expenses.

PORTFOLIC EQUITY ALLOCATION;

The Pie Chart is an estimate for illustratve purposes only.

PORTFOLIO SUMMARY:

Usts ali securities held in your account.

MARKET VALUE:

This amount represents the value of the security position in your portfolio based on aopralsals obtained from the various quotation services. These appraisals are based on the closing prices, bond yields and/or the mean bid and ask on the last day of the staterrent period. Because of the nature of the data provided by
‘the quotation services, wa cannct guarantees the accuracy of such prices or the valuation dates particularly in the case of inactive or infrequently traded secunties.

Some securities in your portfolio may be listed a3 “Unpriced* on your statement. We usc an automated pricing’ service from an cutside vendor and certain prices may not be available to them. You can obtnin o current quotation, upon request, from your broker or bank.

Bond prices might differ from current market quotes. Similarly, bond rati tactual ratings. Tating services are often unable to supply us with up to the minute Information. Your broker or bank will be pleased t obtain a current quotation upon request,

ESTIMATED ANNUAL INCOME

The current annual dividend or bond interest rate for each security held, if available from quotation services. The rate is multiplied by the number of shares or par vaiue of bonds to determine estimated annual income
OPEN ORDERS:

Displays aif STC {Good -Tiiancelied) orders. in your account, Aisa Induded In the section are GTX orders (GTC orders eligible for extended trading hours).

MONEY MARKET

Purchaves. reinvestment ( and tiquidations of manay market funds. plus redemptions of money market fund checks.
DERNITION OF ACCOUNT TYPES C= Cash. M*Margn.1=incomc. LeLogni, S*Short. X*RVP/DVP, and O=Other

REALIZED GAIN/LOSS DETAIL AND PORTFOLIO SUMMARY SECTIONS:

Displays mutual funds by average cost and ather securities by individual tax lot. Realized gains Gosses) are reflected on a trade date basis for i th period o the period in which the shares were recaived, if ater. Realized gains and losses may include transactions that settie during the
oyde These ions appear in the Portfolio Holdings section. Estimated unrcalzed gains {leseca) arc diaplayed for most iti held. The cost bask (leasca} docs not reflect wash salca and may not reflect all capital adjuatmenta, Most exchanges reflected
on thla statement are treated a3 non-taxable, unicss or until other i hos been to us. Coat basis of preferred securities with original |: di COI") ls not for the acerction of OID. For most long positions transferree between bencficial owners, the transfcror’s coat basis will be

retained, For shares acquired from a decedent. you should consult your tax adviser to determine te appropriate valuations and holding period that applies. ALTHOUGH THE CCST SASIS SHOWN MAY HAVE BEEN ADJUSTED, YOUR COST BASIS MAY REQUIRE ADDITIONAL ADJUSTMENTS, NOTE: WE DO NOT REPRESENT
THE CALCULATIONS OF REALIZED AND UNREALIZED GAINS (LOSSES) AS AN OFFICIAL TAX ACCOUNTING OF SUCH FIGURES. FOR TAX PURPOSES. YOU SHOULD RELY ON YOUR OWN REGORES AND THE CONSOUDATED FORM 1089 SENT TO YOU,

Order Routing:

The SEC requires all broker-deaiers that route orders in equity securities and options to make available quarterly reports that presenta general overview of their routing practices, The reports must identify the significant venuea to which customer orders were routed for executlon during the applicable quarter and
disclose the matoral aspects of the broker-dealer’s refstionship with such venues. in addrten. the Rule (SEC 606) recuires broker-dealers to disclose. on customer request, the venues to ihich the indmidual customer's orders were routed for the sx months prior t the request, and the execution ime for the orders
that were executed. For further information, please contact your broker or financial odutoor.

SON Eae LAYS Gren AS IT WILL BE ELPUL IN PREPARING YOUR INGOME TAX RETURNS AND MAY BE NEEDED ALONG WITH SUBSEQUENT STATEMENTS TO VERIFY INTEREST CHARGES IN YOUR ACCOUNT. THIS STATEMENT SHALL BE DEEMED CONGLUSIVE UNLESS OBJECTED T¢ IN WRITING WITHIN 10
fATEMENT CLOSING DAI
MUTUAL FUNDS AND OTHER SECURMES ARE Nor INSURED BY THE FDIC, ARE NOT DEPOSITS OR OBLIGATIONS OF, OR GUARANTEED BY APEX. AND INVOLVE INVESTMENT RISKS, INCLUDING THEPOSSIBLE LOSS OF THE PRINCIPAL AMOUNT INVESTED.

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August 1, 2021 - August 31, 2021 Webull Financial LLC

masezors 44 Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER LE 57.42 RR WEA

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SYMBOLY ACCOUNT MARKET LAST PERIODS: EST. ANNUAL % OF TOTAL,
DESCRIPTION cusIP TYPE QUANTITY PRICE VALUE MARKET VALUE % CHANGE INCOME PORTFOLIO

EQUITIES / OPTIONS

META MATLS INC MMAT 0 91 4.65 423.15 290.50 46 11.082
COMMON STOCK

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August 1, 2021 - August 31, 2021 Webull Financial LLC

mongers 44 Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER [57-22 RR WEA

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a ACCOUNT
TRANSACTION DATE TYPE DESCRIPTION QUANTITY PRICE DESIT CREDIT
< BUY / SELL TRANSACTIONS
3 BOUGHT 08/13/21 Cc META MATLS INC 7 $3.365 $23.56
COMMON STOCK
. CUSIP: 59134N204
BOUGHT 08/18/21 c META MATLS INC 1 3.20 3.20
- COMMON STOCK
CUSIP: $9134N104
> Total Buy / Sell Transactions $26.76

SECURITIES RECEIVED AND DELIVERED

JOURNAL 08/16/21 0 META MATLS INC 7
COMMON STOCK
TO TYPE 7 FROM TYPE 1.
FFS(114648669)
CUSIP: 59134N104

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August 1, 2021 - August 31, 2021

PAGE 4OF9
ACCOUNT NUMBER [ERE57-41. RR WEA

ACCOUNT ACTIVITY (CONTINUED)

ACCOUNT
TRANSACTION DATE TYPE DESCRIPTION

PRICE

Webull Financial LLC
44 Wall Street, New York, NY 10005
customerservice@webull.us

DEBIT CREDIT

SECURITIES RECEIVED AND DELIVERED (continued)

JOURNAL 08/19/21 0 META MATLS INC
COMMON STOCK
TO TYPE 7 FROM TYPE 1
FFS(115137238)
CUSIP: 59134N104
META MATLS INC
COMMON STOCK
FROM TYPE 1 TO TYPE 7
FFS(114648669)
CUSIP: 59134N104
META MATLS INC
COMMON STOCK
FROM TYPE 2 TO TYPE 7
FFS(115137238)
CUSIP: 59134N104

JOURNAL 08/16/21 c

JOURNAL 08/19/21 Cc

Total Securities Received And Delivered

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August I, 2021 - August 31, 2021 Webull Financial LLC

mses 4A Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER 57-42. RR WEA

IMPORTANT INFORMATION

Statement of Financial Condition

A copy of Apex Clearing Corporation's Audited Statement of Financial Condition as of December 31, 2020 is available on the website at www.apexclearing.com/disclosures/. A copy may also
be obtained at no cost by calling Apex Clearing Corporation. As of December 31, 2020, Apex Clearing Corporation had a net capital of $221,754,625 and was $190,963,6111 in excess of its
required net capital of $30,791,014. As of January 31, 2021, Apex Clearing Corporation had a net capital of $316,877,867 and was $269,611,762 in excess of its required net capital of
$47,266,105.

Apex’s Policy for Dividends and Interest
Apex’s policy is to pay all dividends and interest in US Dollars. Apex will allow the following countries to be paid in their foreign currency (Canadian Dollars, British Pounds, Euros, Argentine
Peso, Chinese Renminbi, Korean Won, Philippine Peso and Brazilian Real).

Participation In Fully Paid Lending Program
Customers participating in the Fully-Paid Securities Lending Program should be aware that shares on loan are not covered by FDIC or SIPC. Cash securities collateralizing shares are held at JP
Morgan Chase & Co. and not subject to FDIC or SIPC protections. Please consult the Master Securities Lending Agreement for additional information.

Information Regarding Cost Basis for Forelgn Account Statements

Foreign Currency: Cost basis is required to be reported in U.S. dollars for tax purposes. ft is the responsibility of the account holder to convert sales proceeds paid in foreign currency to U.S.
dollars to avoid inaccurate cost basis calculations. When reporting the purchase or sale, you must determine the U.S. dollar amounts to be reported as of the settlement date, at the spot rate

or by following a reasonable spot rate convention. See Regulations section 16045-1(d)(8). -

Payment of Interest to holders of Municipal Securities - you may be subject to a substitute interest payment if the transfer of ownership of your municipal security has not been
completed prior to the next interest payment. Please contact a tax professional for more specific details.

IMPORTANT INFORMATION

To our valued customers:

FINRA Rule 2231 requires that we advise you to promptly report any inaccuracy or discrepancy in your account (within 10 days after available) to your brokerage firm and clearing firm (where
these are different firms) and to re-confirm any oral communications in writing.

https://www.finra.org/rules-guidance /notices/06-72

"IMIPORTANT - Part of your distribution Includes a return of capital. Any distribution that represents a return of capital reduces the estimated per share value shown on your account
statement."

The preceding notice is required when reporting distributions on Direct Participation Programs and/or REITs and is subject to the DPP or REIT sponsor's final capita! return determination as
detailed in the IRS Form 1099 or K-1, as applicable.

Alternative or Other investments, DPP, and Unlisted securities are not listed on a national securities exchange, are generally illiquid and that, even if a customer is able to sell the securities,
the price received may be less than the per share estimated value provided in the account The evaluation method used for any particular DPP or REIT will be provided to clients upon request.
Certain positions are not held on Apex’s books or custodied by Apex and are not Protected by SIPC,

Pursuant to SEC Rule 606, Apex Clearing Corporation is required to make publicly available a quarterly report with regard to its routing of non-directed orders. For the purpose of this Rule, we

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August 1, 2021 - August 31, 2021 Webull Financial LLC

maoeeore 44 Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER [57-24 RR WEA

ANNOUNCEMENTS (CONTINUED)

have entered into an agreement with QuantumS Market Surveillance (a Division of S3 Matching Technologies) to disclose all required information pertaining to this rule. This information can
be accessed on the internet at: http://public.s3.com/rule6OG/apex/, or a written copy will be furnished at no cost upon request via telephone to (214) 765-1009.
SEC Rule 606 (b) requires a broker-dealer to disclose to its customers, upon request, "the identity of the venue to which the customer's orders were routed for execution in the six months prior
to the request, whether the orders were directed orders or non-directed orders, and the time of the transactions, if any, that resulted from such orders.”

In accordance with the Emergency Economic Stabilization Act of 2008 broker-dealers are required to track and report cost basis to the IRS in three phases over the next three years.

e Equity securities acquired on or after January 1, 2011

e Mutual fund and dividend reinvestment plan (DRIP) shares acquired on or after January 1, 2012:

*Debit securities, options, and all other financial instruments acquired on or after January 1, 2024. (The IRS has extended this date from the previously announced date of January 1, 2013.)
Beginning this upcoming tax reporting season the cost basis of any covered equity security transaction (purchased after 12/31/10) that is required to be reported on a 1099-B will include its
associated cost basis. If you have any questions about this important change to the IRS mandated reporting requirements, please contact your broker-dealer or registered advisor.

IMPORTANT INFORMATION CONTINUED

Please take note of the following description of Apex Clearing Corporation's excess SIPC coverage, which reflects certain changes made to the coverage effective August 8, 2013. The
Securities Investor Protection Corporation ("SIPC") protects certain customer funds up to a ceiling of $500,000, including a maximum of $250,000 for cash claims. Please note SIPC does
not cover commodity contracts and options on futures. For additional information regarding SIPC coverage, including a brochure, please contact SIPC at (202) 371-8300 or visit
Www.SiPC.org.

Apex has purchased an additional insurance policy to supplement SIPC protection. This additional insurance policy, widely known as “excess SIPC,” becomes available to customers in the
event that SIPC limits are exhausted. This additional insurance provides protection for securities and cash up to an aggregate limit of $150 million, subject to sub-limits for any one
customer of $37.5 million for securities and $900,000 for cash. Similar to SIPC protection, this additional insurance does not protect against a loss in the market value of securities. For
additional information, please contact your broker.

FDIC SWEEP PROGRAM

For customers with balances in a bank deposit account as part of the FDIC Sweep Program or shares of a money market mutual fund in which you have a beneficial interest, those balances
or shares may be liquidated on your order and the proceeds returned to your account or remitted to you in accordance with the applicable prospectus and/or Terms and Conditions of the
program.

For customers participating in the FDIC Sweep Program, the FDIC Sweep Program allows your cash balance to be eligible for insurance protection through the FDIC up to the maximum
applicable insurance limits. Customers may obtain information about FDIC, by contacting the FDIC at 1-877-275-3342, 1-800-925-4618 (TDD) or by visiting wwwfdic.gov. Deposit Account
balances in the FDIC Sweep Program are not protected by SIPC or any other excess coverage by Apex Clearing Corporation. Deposit Account balances are protected as established by
current applicable laws regulated by the FDIC.

Customers may obtain information about SIPC, including the SIPC brochure, by contacting SIPC at 202-371-8300 or by visiting www.SIPC.org.

IMIPORTANT INFORMATION
APEX CLEARING CORPORATION DISCLOSURE STATEMENT

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August I, 2021 - August 31, 2021 Webull Financial LLC

ACCOUNT NUMBER {Es 7-4. RR WEA

racers 44 Wall Street, New York, NY 10005
customerservice@webull.us

ANNOUNCEMENTS (CONTINUED)

Apex Clearing Corporation ("Apex") recognizes the importance of providing information on an ongoing basis to the customers whose accounts are cleared through Apex. Your broker/dealer has
designated Apex as its clearing firm. In accordance with industry rules and regulations, Apex is required to disclose on an annual basis certain important regulatory notices and disclosures. To
comply with these requirements, Apex has published an Annual Disclosure Statement which is available on the Apex corporate web site, www.apexclearing.com. For customers who do not
have access to the internet please call Apex at 214-765-1009 and request a complete copy of the Annual Disclosure Statement be mailed to your address of record.

A brief summary of the content of the Annual Disclosure Statement is as follows:

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Anti-Money Laundering - Federal law requires all financial institutions to obtain, verify and record information that identifies each person who opens an account.

Privacy Policy - The privacy of customers is a responsibility which Apex respects and protects for former customers as well as current customers.

Margin Disclosure Statement FINRA Rule 2264 - The Information furnished provides basic facts about purchasing securities on margin and alerts customers of certain risks
involved in trading securities in a margin account.

Day-Trading Risk Disclosure Statement: FINRA Rule 2270 - Information to be considered before engaging in a day-trading strategy.

Business Continuity Plan: FINRA Rule 4370 - A further summary of Apex's Disaster Recovery Plan to reasonable ensure business continuity.

SEC Rule 606 and 607 (Payment for Order Flow and Order Routing information) - (Rule 606) Requires Apex to make public a quarterly report with regard to routing of
non-directed orders and (Rule 607) Requires Apex to disclose its payment for order flow practices.

SEC Rule 10b-10 - Requires customers are provided with prior written notification of certain transactions that are not reported immediately through a trade confirmation.

SIPC Information: FINRA Rule 2266 - The Securities Investor Protection Corporation ("SIPC") requires that funds are available to meet customer claims up to a ceiling of
$500,000, including a maximum of $250,000 for cash claims. For more information about SIPC coverage or to receive a brochure, please visit the SIPC website at www.sipc.org
or, call (202) 371-8300.

investor Education and Protection: FINRA Rule 2267 - Requires Apex to provide information about FINRA’s BrokerCheck program. The investor brochure may be obtained from
FINRA BrokerCHeck hotline number (800} 289-9999 or the FINRA web site address www.FINRA org.

Joint NASD Industry Breakpoint Task Force - A further summary of a July 2003 report which recommends written disclosure regarding mutual fund breakpoints.

Carrying Agreements: FINRA Rule 4311 - The firm with which you have opened your securities account has retained Apex to provide certain record keeping, clearance, and
settiement functions. A further summary of details is disclosed.

Extended Hours Trading Risk Disclosure: FINRA Rule 2265 - Risks to consider include lower liquidity, higher volatility, changing prices, unlinked markets, news announcements,
wider spreads, and lack of calculation.

Liens and Levies - Apex will abide by the directions of federal, state, or other levying authorities.

Regulation E - Disclosure regarding certain electronic transfers is required under the provisions of this regulation as issued by the Board of Governors of the Federal Reserve

System.

Municipal Securities Rulemaking Board ("MSRB’) Rule G-10 requires an annual notification that 1) Apex Clearing Corporation is registered with the U.S. Securities and Exchange
Commission and the Municipal Securities Rulemaking Board, 2) the MSRB publishes an investor brochure that is published on their website that describes the protections that may be
provided by the MSRB and how to file a complaint with the regulatory authorities and 3) a copy of the MSRB Investor Brochure as well as information regarding prospective, new and
existing MSRB rules may be found on the MSRB website by going to the following link: http://www.msrb.org/,

IMPORTANT INFORMATION - Privacy Policy

Apex Clearing Corporation ("Apex") carries your account as a clearing broker by arrangement with your broker-dealer or registered investment advisor as Apex's introducing client. At Apex, we
understand that privacy is an important issue for customers of our introducing firms. It is our policy to respect the privacy of all accounts that we maintain as clearing broker and to protect the
security and confidentiality of non-public personal information relating to those accounts. Please note that this policy generally applies to former customers of Apex as well as current
customers.

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August I, 2021 - August 31, 2021 Webull Financial LLC

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ACCOUNT NUMBER [IE 57.24 RR WEA 7 ?
> customerservice @webull.us
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ANNOUNCEMENTS (CONTINUED)
-l Personal Information Collected
In order to service your account as a clearing broker, information is provided to Apex by your introducing firm who collects information from you in order to provide the financial services that
< you have requested. The information collected by your introducing firm and provided to Apex or otherwise obtained by Apex may come from the following sources and is not limited to:
s information included in your applications or forms, such as your name, address, telephone number, social security number, occupation, and income;
> ° Information relating to your transactions, including account balances, positions, and activity;
* Information which may be received from consumer reporting agencies, such as credit bureau reports;
2 e information relating to your creditworthiness;
* Information which may be received from other sources with your consent or with the consent of your introducing firm.
> in addition to servicing your account, Apex may make use of your personal information for analysis purposes, for example, to draw conclusions, detect patterns or determine preferences.
_ Sharing of Nonpublic P: i infor i
Apex does not disclose non-public personal information relating to current or former customers of introducing firms to any third parties, except as required or permitted by law, including but
a not limited to any obligations of Apex under the USA PATRIOT Act, and in order to facilitate the clearing of customer transactions in the ordinary course of business.
2 Apex has multiple affiliates and relationships with third party companies. Examples of these companies include financial and non-financial companies that perform services such as data
processing and companies that perform securities executions on your behalf. We may share information among our affiliates and third parties, as permitted by law, in order to better service
- your financial needs and to pursue legitimate business interests, including to carry out, monitor and analyze our business, systems and operations.

Security

Apex strives to ensure that our systems are secure and that they meet industry standards. We seek to protect non- public personal information that is provided to Apex by your introducing firm
or otherwise obtained by Apex by implementing physical and electronic safeguards. Where we believe appropriate, we employ firewalls, encryption technology, user authentication systems
{Le, passwords and personal identification numbers) and access control mechanisms to contro! access to systems and data. Apex endeavors to ensure that third party service providers who
may have access to non-public personal information are following appropriate standards of security and confidentiality. Further, we instruct our employees to use strict standards of care in
handling the personal financial information of customers. As a general policy, our staff will not discuss or disclose information regarding an account except; 1) with authorized personnel of
your introducing firm, 2) as required by law or pursuant to regulatory request, or 3) as authorized by Apex to a third party or affiliate providing services to your account or pursuing Apex’s
legitimate business interests.

Access to Your Information
You may access your account information through a variety of media offered by your introducing firm and Apex (i.e. statements or online services). Please contact your introducing firm if you
require any additional information.

HMIPORTANT INFORMATION - Privacy Policy - CONTINUED
Apex may use "cookies" in order to provide better service, to facilitate its customers’ use of the website, to track usage of the website, and to address security hazards. A cookie is a small
piece of information that a website stores on a personal computer, and which it can later retrieve.

Changes to Apex’s Privacy Policy
Apex reserves the right to make changes to this policy.

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August I, 2021 - August 31, 2021 Webull Financial LLC

rasepers 44 Wall Street, New York, NY 10005
customerservice@webull.us

ACCOUNT NUMBER [QMENI57-12 RR WEA

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ANNOUNCEMENTS (CONTINUED)

=! How to Get In Touch with Apex about this Privacy Policy
For reference, this Privacy Policy is available on our website at www.apexclearing.com, For more information relating to Apex's Privacy Policy or to limit our sharing of your personal
<< information, please contact:

Apex Clearing Corporation

Attn: Compliance Department 350 N. St. Paul St, Suite 1300
Dallas, Texas 75201

es@anexclearing com

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Webull

Statement Period: 01/01/2024 - 01/31/2024

Account Name: a

Account Number: —igcss7

Account Type: CASH

Account Address: 211 Rue Landry Road SAINT ROSE,LA,70087
PORTFOLIO SUMMARY

This section provides an overview of cash and securities held in your Webull account as well as fully-paid securities you have loaned through your participation in the Apex Clearing Fully-Paid
Securitios Lending Program and the collateral held through the program's Trustee for your benefit ata bank.

Welcome to your Webull Brokerage Account Statement!

This provides a pi ive overview of your investment aclivities and holdings within your Webuil brokerage account, If serves as a record of your transactions. portfolio performance, and important account delails. Details regarding
participation in fully-paid securities lending are also provided here. A glossary of key definitions and important terms are provided at the end of the document.

Please note that this is for info.

only and does nal provide personalized investment advice. If you have any questions or need assistance, our support {eam is available to help.

Please note thal externally held assets are included on the statement solely as a courtesy: information (including valuation) for such externally held assets is derived from extamat sources for which the member is not respansible; and externally held assets
may nol be covered by SIPC.

Happy investing with Webull!

OFFICE SERVING YOU

Webuil Financial LLC

Member FINRA (CRD: 289053}, SIPC
44 Wail Street, 2nd Floor

New York, NY 10005
customerservices@webull.us

4 (888) 828-0618

YOUR CLEARING BROKER

Apex Claaring Corporation

Member FINRA (CRD: 13071), SIPC
350 N. St. Paul Suita 1300

Dallas, TX 75201

cs@apexciearing.com

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CASH BALANCE DETAIL

OPEN POSITIONS

Symbol Cusip Quantity Multi Closing Price Amount

§9134N302

ACCOUNT ACTIVITY

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Date Transaction Currency Symbo! Cusip Quantity Amount Description Status
01/25/2024 Corporate Action MMTLPWB USBAQS903 ~67 Rep option 2 aiection
01/25/2024 Corporate Action BAQS925 USBAQS925 67 Rep option 2 election
01/29/2024 Corporate Action MMAT 59134N104 94 META MATERIALS INC — Reverse Split @100:1 — into $9134N302
“ fi n1— i
0129/2024 Corporate Action MMAT 59134N302 4 META MATERIALS INC -- Reverse Split @100:1 — Result of Reverse
NOTES

KEY DEFINITIONS AND TERMS

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Pending Dividends: The pending dividend section includes unpaid cash dividends that the shareholder is entitled to receive but have not been distributed in the statement period, Most oflen due to the deciared payment date being in the future outside of
the statement period.

Accrued Interest: Interest is charged monthly, so this section will be the tatal interest incurred by the user in the statement period, rather than the portion of the interest charged, Additional! detail provided in the important information section below.
Trades {Sold}: Cash from selling securities.
Trades (Bought): Cash spent on buying securities.

Multiolier(Mult): in an individual stock option, the value of the contract is expressed as the product of a certain monetary amount and the underlying index. The certain monetary amount is fixed by the contract, which is referred to as the contract
multiplier. At present, the stock is 4 by default and the individual stock option is 100.

Closing Price: Last traded price on the last trading date of the month. Note, closing prices are indicative and may be from Ihird-party sources. Webul! does not warrant the accuracy of the prices provided by third-party sources.
The sum of Exchange-related fees, transaclion-related fees, stamp duty, withholding tax, contract fees, commissions, or other fees or laxes.

Webuil does not charge any fees for currency exchanges. Exchange rale is prone to be impacted by the markel exchange rates, Please take exchange rales on market as relerence.

All transactions are based on a Firsi-in, First-out ("FIFO") method,

. Trade Records: Displays all GTC (Good-Till-Cancelied) orders in your account. Also included in the section are GTX orders (GTC orders eligible for extended trading hours),
. Account Types: C = Cash, M = Margin, S = Short, X = RVP/DVP, and O = Other

FPSL: The Apex Clearing Corporation Fully-Paid Securities Lending Program.

Market Value of Securities Held Long includes the market value of securities held in non-short account types (i.e. Cash account, Margin account).

Market Value of Securities Held Short includes the markel value of securilies held in the short account type. Bona fide short positions will mark-to-market on a daily basis between the margin and shart account types based on prevailing closing prices of
the security which was shorted.

Market Value of Fully-Paid Securities Loaned. The market vaiue of the fully-paid securities you have foaned through participating in the Apex Clearing Corporation Fully-Paid Securities Lending Program.

Collateral Vaiue and Loan Value. Collateral Vaiue and Loan Value are retated to the fully-paid securities lent by you under the FPSL program. Collateral Value is the amount of collalerat (e.g. cash) held on your behalf through the program's Trustee for
your benefit at a bank, Loan Value is the markel value of the fully-paid securities you have loaned, subject to rounding convention, through participating in the FPSL Program. See the Master Securities Lending Agreement for Apex Clearing Corporation
Fully-Paid Securities Lending Program for complete program details.

Portfolio Market Value. The sum of the cash in your account {i.e. Total Cash Value), the securities in your account (i.e. Market Value of Securities in Your Account). and the market value of the fully-paid securities on foan (i.e, Markel Value of Fully-Paid
Securities Loaned}

Payment in Lieu. Cash distributions paid on fully-paid securities on loan in the Securities Lending Income Program will be credited to your Webull account in the form of a “cash-in-lieu” payment. Receipt of cash-in-lieu payments may have differant
laxable consequences than receipt of the actuai dividends from the issuer.

IMPORTANT INFORMATION

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. Webull carries your account on an omnibus basis with Apex Clearing Corporation, which acts as the clearing broker.

if there are any material changes regarding your contact information, investment objectives, or financial situation, advise Webull promptly by updating your information using the Webull platform or by i 4

. If this is a margin account and we maintain a special memorandum account for you, this is a combined statement of your general account and special memorandum accounl maintained for you under Regulation T issued by the Board of Governors of

the Federal Reserve System. The permanent record of the special mernorandum account as required by R T is available for your i ion al your request.

The inlerest charged on the debit balance in your account is shown on this statement. Interest on debit balances is calculated for each calendar day and charged monthly. The interest settlement cycle begins from the prior month's settlement date to the
latest satllement date before the 15th of each month. The margin rate is variable and is determined by the size of the margin loan. The margin rate is set at Webull's discretion and is subject to change without notice. The daily interest charge is
calculated by muitiptying the debit balance by the margin interest rale divided by a 360 calendar year. When calculating margin interes, the free credit balance in the account will offset any debit in the margin account and the interest will be charged on
the net debit baiance. -

We are required to report to the internal Revenue Service all cash dividends and registered bond interest credited to your account on securities held for you in our name. All dividends and interest credits should be included in your income tax return,
Webuill’s policy is lo pay all dividends and interest in US Dollars. Webuil will allow the following countries lo be paid in their foreign currency (Canadian Dollars, British Pounds, Euros, Argentine Peso, Chinese Renminbi, Korean Won, Philippine Peso
and Brazilian Real).

Information related to fees and other charges incurred in connection wilh listed options transactions occurring during the month has previously been furnished to you in confirmation of such transactions. A summary of this information will be made
available to you promptly upon request. Exercise assignment nolices for option contracts are randomly among short iti Amore detailed description of our random allocation procadure is available upon request.

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Crypto: For your convenience, Webull includes information for your cryptocurrency account wilh Apex Crypto. Webull is not party to any transactions in cryptecurrency and does nol custody cryptocurrency on your behalf. Apex Crypto is your
counterparty for any transactions in cryplocurrency and any position in cryptocurrency us custodied solely with Apex Crypto. Cryptocurrency held with Apex Crypto is not protected by SIPC,
SIPC Coverage: Webull is a Member of SIPC, which protects securities customers of its members up to $500,000 (including $250.000 for claims for cash). Explanatory brochure available upon request or at www.sipc.org. Deposits held away from
Webull may not qualify under SIPC protection.

9. Any tree credit balance represents funds payable upon demand which, although properly accounted for on our books of records, is not segregated, and may be used in the conduct of this firm's business as permissible under the SEC Rule 15c3-2.
10. Rate on Customer Collateral represents the interest paid on the collateral posted lo the customer's account and received from lending stock. A positive rate Indicates a benefil to the fender.

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NOTICE TO CUSTOMERS

1. Webull utilizes the service of Apex Clearing Corporation (“Apex”) as a custodian to hold clients’ assets in omnibus accounts. Apex, a fullservice broker-dealer, is a member of FINRA and SIPC. As custodian, Apex is responsible for balding, maintaining,
and handling assets in the manner instructed by Webull as per the clients’ direction. As a clearing agent. Apex provides securities clearance and may order execution based on Webull instructions. By opening an account al Webull, you have agreed Io
Webut's use of an omnibus account with Apex as custodian.

2. You are a customer of Webull. Apex is not involved with or has any responsibility for decision regarding ies transactions in your accounl. Webuil is responsible for opening, approving, and monitoring all activities in connection with your account
The entry of orders and any instructions regarding the deposit or withdrawal of securities or monies should be made through Webull

3. interest charges to your account may be based on the size and net debit balance during the inlerest period. These rates are subject to revision. For more compiete information regarding interest charges to customers, consult the Webull Fee Schedule,
available at webull.cor/pricing,

4. Fully Paid Lending Program: Customers participating in the Fully Paid Securities Lending Program should be aware thal shares on loan are not covered by SIPC. Cash or iti izing fully-paid ities loaned are held at JP Morgan Chase
& Co, and are not subject to SIPC protections. Please consull he Master Securities Lending for i i i ilable at webull. i

5. in case of errors or questions about your electronic transfers, if you think your statement or receipt is wrong, or if you need more information about a transaction listed, email customerservices@webull.us. Webull must hear from you no later than 60
days after you were sent the first statement on which the problem or error appeared. When reaching oul, please include your name, account number, a description of the item you are unsure about, a clear explanation as to why you believe itis an error,
and the dollar amount of the suspected error.

6. Webull will investigate your complaint and will correct any error prompliy. If we take more Ihan 10 business days to do this, Webull will credit your account for the amount you think is in error, so that you will have the use of the funds during the time it
takes Webull to complete our investigation.

7. FINRA Investor Brochure: Webull is a member of FINRA and we are required to inform you of the availability of lhe FINRA investor Brochure which contains information on FINRA BrokerCheck. You may contact FINRA at 800-289- 9999 or at their
website www.finra.org. Webull carries your account and acts as your custodian for funds and Apex acts as your ian for ities. Any ir or Dp: in your account statement must be promptly reported to Webull. in order
to protect your righis, including your righ to SIPC coverage, please canfirm any oral communication in writing and include your brokerage account number. General inquiries or concerns regarding your account should be directed to Webull. Account
positions and balance inquires, or concerns should be directed to Webull via the Help Center.

8. The SEC requires all broker-dealers thal route orders in equity securities and options lo make available quarterly reports that present a general overview of their routing practices. The reports must identify the significant venues to which customer orders
were routed for execution during the applicable quarter and disclose the material aspect of the broker-dealer's relationship with such venues. in addition, the Rule (SEC 606) requires broker-dealers to disclose, on customer request, the venues to which
the six months prior lo the request, and the execution time for the orders that were executed. For further information, please contact Webuil,

9. Alltrade ions are i on or about the ion date. For certain index Options Webull charges a per-contract fee, referred to as the Webull Index Option Contract Fee. The Tax/Fee column is an aggregate of the following fees: the
Webull Index Option Contract Fee, the Proprietary index Option Fee, the OCC fee, the Regulatory Transaction (SEC) Fee, Trading Activity Fee (TAF), and Options Regulatory Fee {ORF}, wh i For more details please visit www.webull.
compricing

10. Cost Basis for Foreign Account Statements. Cost basis is required lo be reported in U.S. dollars for tax purposes. It is the responsibility of the account holder to convert sales proceeds paid in foreign currency to U.S. dollars to avoid inaccurate cost
basis calculations. When reporting the purchase or sale, you must determine the U.S. dollar amounts to be reported as of the seltiement dale, at the spot rate or by following a reasonable spot rale convention. See Regulations section 1.6045-1 (d}(8).

. Please relain this statement as it will be helpful in preparing your income tax retums and may be needed along wilh subsequent statements to verify inlerest charges in your account. This statement shall be deemed conclusive unless objected fo in
writing within 10 days of the statement closing date. Mutual funds and other securities are not insured by FDIC, are not deposits, obligations of Webull.

42, A financial statement of Webull Financial LLC is available for your personal inspection at www.webull.com or a copy of it can be mailed to you upon your writlen request.
13. Please contact Webull Financial LLC ("Webull”} customer service to report any i or discrepancy in this via in-App Ucket, email al customerservices@webull.us, or by phone al 1 (888) 828-0618.

STATEMENT OF FINANCIAL CONDITION

1. Pursuant to lhe Securities Exchange Act of 1934, Webull Financial LLC (“‘Webull’) is required to provide clients with certain financial infarmalion. The Unaudited Statement of Financial Condition of Webull Financial LLC as of June 30, 2023 is available
on the Webuil website at www.webull.com/policy. A copy of this document may also be oblained at no cost by calling Webuil at 1 (888) 828-0618.

2. On June 30, 2023, Webull Financial LLC had net capilal of $120,513,227 which exceeded its required net capital of $250,000 by $120,263,227.

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